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                  IN THE UNITED STATES JUDICIAL DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 KANE COUNTY, UTAH (2), (3) and (4),
 a Utah political subdivision; and STATE OF            PLAINTIFFS’ WITHDRAWAL OF
 UTAH,                                                  REQUEST FOR ADDITIONAL
                                                        DEPOSITION DESIGNATIONS
        Plaintiffs,
 v.                                                           Case No. 2:10-cv-01073

 UNITED STATES OF AMERICA,                         (consolidated with 2:11-cv-1031, 2:12-cv-476)

        Defendant,                                          Judge: Hon. Clark Waddoups




       Plaintiffs Kane County, Utah, and the State of Utah (“Plaintiffs”), provide this

Withdrawal of Request for Additional Deposition Designations.
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       Plaintiff Kane County’s Opposition to Defendant United States’ Amended Motion to

Dismiss, p. 30 (ECF 691, p. 38), cited to pages 55-56 of the deposition of Mr. Salamacha,

excerpts of which were included in Exhibit 1971. These two pages are included in Exhibit 1971,

but were not designated (by highlighting) as testimony relied upon by a party; they were the

additional pages the Court requested the parties to include before and after any designated

testimony. Defendant United States’ Reply in Support of its Amended Motion to Dismiss, p. 14

(ECF 704, p. 21) noted that the cited excerpt was not designated.

       On July 27, 2023, during the hearing on the United States’ motion, Plaintiffs requested

the opportunity to designate four additional pages of testimony from the deposition of Mr.

Salamacha. The Court granted this request with the condition that the United States be given the

opportunity to counter-designate responsive deposition testimony as it deemed appropriate.

       After exchanging proposals, the parties have not been able to come to agreement

regarding additional designations. Accordingly, Plaintiffs withdraw their request to supplement

the designations and the Court may disregard the citation to pages 55-56.

       DATED this 15th day of December 2023.


                                             HOLLAND & HART LLP

                                             /s/ Shawn Welch
                                             Shawn T. Welch
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                                             Michelle L. Quist
                                             Attorneys for Plaintiff Kane County, Utah




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                                  * Signed with permission given to filing counsel

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